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                   IN THE TIDRTEENTH JUDICIAL CIRCUIT
                     HILLSBOROUGH COUNTY, FLORIDA

                     ADMINISTRATIVE ORDER S-2019-005
                   (Supersedes Administrative Order S-2007-036)

                    CHANGE OF CONTACT INFORMATION

        Florida Rule of Judicial Administration 2.515 requires attorneys to provide
 an address, telephone number, and e-mail address on each document filed with the
 court. Self-represented litigants must provide an address and telephone number and
 may provide an e-mail address on all documents filed with the court.

       Both attorneys and self-represented litigants experience changes of address,
 telephone numbers, or e-mail address during the pendency of litigation. The court,
 the Clerk of the Court ("clerk") and other parties need to be notified of such
 changes to addresses, telephone numbers, and e-mail addresses in order to provide
 proper notice or service of court documents.

         The courts and the clerk do not uniformly receive timely notices of change
  of contact information from all attorneys and self-represented litigants. When the
  courts and the clerk do receive notices of change of contact information, the
  notices do not always identify the case number(s) associated with the attorney or
  self-represented litigant.

        By the power vested in the chief judge under article V, section 2(d), Florida
  Constitution; section 43.2, Florida Statutes; and Florida Rule of Judicial
  Administration 2.2 l 5(b)(2), it is ORDERED:

         1.    Designation of Current Mailing and E-Mail Address Form
         The clerk will provide access to a Designation of Current Mailing and E­
  Mail Address form for use by attorneys and self-represented litigants that complies
  with the requirements of this administrative order.

         2.     Duty of Attorneys and Self-Represented Litigants
         If an attorney or self-represented litigant experiences a change in mailing
  address, telephone number, or e-mail address, or any combination of these, the
  attorney or self-represented litigant must promptly file with the clerk and serve all
  parties a separate Designation of Current Mailing and E-Mail Address form for
  each case associated with the attorney or self-represented litigant. Self-represented


                                     EXHIBIT C
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 are allowed but not required to provide the clerk and all parties with an e-mail
 address. If a self-represented litigant decides to serve and receive documents by e­
 mail, the litigant must continue using e-mail service unless otherwise ordered by
 the presiding judge.

        3.      Reliance on Obsolete Contact Information
        If attorneys and self-represented litigants who experience a change of
 mailing address , telephone number , or e-mail address , or any combination of these ,
 do not comply with section 2 of this administrative order , the courts , clerk and
 other parties have a right to rely on the contact information appearing in the most
 recent document filed in a court file.

       4.     Previous Administrative Order Superseded
       This administrative order supersedes Administrative Order S-2007-036
 (Notice of Change of Contact Information).

         5.    Effective Date
         This administrative order is effective March 1, 2019.

         ENTERED in Tampa , Hillsborough County , Florida on February __!/_ ,
 2019.




 Original to: Pat Frank , Clerk of the Circuit Court
 Copy to:     All Judges
              Hillsborough County Bar Association




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